Case 1:20-cv-22454-FAM Document 1 Entered on FLSD Docket 06/15/2020 Page 1 of 3


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1. Party Inform ation

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  q.StatementofClaim
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